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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

             V,                                              Case No. 20-mj-68

KYLE C. OLSON,

                           Defendant.


                           COMPLAINT FOR VIOLATION OF
                  TITLE 18, UNITED STATES CODE, SECTION 922(g)(l)


BEFORE United States Magistrate Judge                   United States District Court
Stephen L. Crocker                                      120 North Henry Street
                                                        Madison, Wisconsin 53703

      The undersigned complainant being duly sworn states:

                                        COUNTl

      On or about May 31, 2020, in the Western District of Wisconsin, the defendant,

                                    KYLE C. OLSON,

knowing he had previously been convicted of an offense punishable by a term of

imprisonment exceeding one year, knowingly and unlawfully possessed in or affecting

commerce a Hi-Point JHP .45 caliber handgun, said firearm having previously traveled

in and affected interstate commerce.

             (In violation of Title 18, United States Code, Section 922(g)(l)).
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This complaint is based on the attached affidavit of Agent Jeffrey Eleveld.



                                         Special Agent Jeffrey Eleveld
                                         Bureau of Alcohol, Tobacco, Firearms and
                                         Explosives

Sworn to telephonically this
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                                         HONORABLE STEPHEN L. CROCKER
                                         United States Magistrate Judge




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COUNTY OF DANE                     )
                                   ) ss
STATE OF WISCONSIN                 )

                                          AFFIDAVIT

      I, Special Agent Jeffrey Eleveld, first being duly sworn under oath, hereby

depose and state as follows:

      1.      I am a Special Agent of the United States Justice Department, Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), and have been since 2000.

      2.      My duties and responsibilities with ATF include participating in the

investigation and prosecution of persons who violate federal firearms laws. As a result

of my h·aining and experience, I am familiar with federal firearms laws and I know that

in accordance with Title 18, United States Code, Section 922(g)(l), it is unlawful for any

person who has been convicted of an offense punishable by a term of imprisonment

exceeding one year to ship or transport in interstate commerce, or possess in or

affecting commerce, any firearm or ammunition, or to receive any firearm or

ammunition which has been shipped or transported in interstate or foreign commerce.

       3.     I am familiar with the facts and circumstances set forth herein as a result

of my personal knowledge of this investigation as well as my review of official reports

and records and conversations with other law enforcement officers as more fully

described below. I know the law enforcement officers to be reliable inasmuch as the

information they provide herein is the result of their official investigation into this

matter.

       4.     This affidavit is intended to show merely that there is sufficient probable



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cause for the requested warrant and does not set forth all of my knowledge about this

matter. Based on the information described below, I believe that there is now probable

cause that Kyle C. Olson has violated title 18, United States Code, Section 922(g)(l).

                                   PROBABLE CAUSE

       5.     On May 31, 2020, at approximately 11:00 p.m., Madison Police officers was

stationed in the area of 220 West Gilman Street, in the City of Madison, Western District

of Wisconsin. Law enforcement was there given the significant civil unrest then

occurring in downtown Madison near the Wisconsin State Capitol and State Street. The

unrest began as peaceful protest but devolved into unlawful violence, vandalism, and

looting. The 200 block of Gilman Street is approximately one block from State Street

where dozens of businesses were damaged and approximately four block from the

Capitol.

       6.     Madison Police Officer Christopher Marzullo reports that he observed a

person, later identified by a Wisconsin driver's license as Kyle C. Olson. Olson parked

his car in front of 220 West Gilman Sh·eet, walked behind a nearby building, and after a

short time return to his car. Olson opened the h·unk, reached inside, and removed a

black handgun. Olson placed this handgun in his waistband at the small of his back,

making sure that it was covered with his shirt.

       7.     Officer Marzullo and two Madison Police detectives then contacted Olson

at gunpoint. Officer Mazullo instructed Olson to put his hands up and then on top of

his vehicle. Olson complied. Detective Manuel Gatdula then removed the handgun

from Olson reporting that the firearm was fully loaded with a round in the chamber



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and seven rounds in the magazine.

      8.     Officer Marzullo then searched Olson incident to arrest. During this time

Olson said that he was a felon, he had just gotten out of prison not too long ago, and he

was afraid to go back.

      9.     The handgun was found to be a Hi-Point JHP .45 caliber pistol with one

round in the chamber and seven rounds in the magazine.

      10.    Officer Marzullo read Olson his Miranda rights. Olson waived those

rights and spoke with the officer. Olson said that he purchased the handgun from

someone he knew for $250. Olson said that he "lives a boring life" and wanted to come

and watch the riots as an in-person "movie." Olson said he grabbed the handgun from

the trunk and placed it behind his back. Olson believed that the handgun did not have

a round in the chamber, but also said that he did not really know how to use firearms.

Olson said that he wanted it for protection as he was coming down to the protests, but

that there were no specific threats against him.

       11.    Officer Marzullo asked Olson why he was in prison. Olson said for

stealing a vehicle when he was "blackout drunk." Olson also said that he was currently

on parole. Your affiant knows that extended supervision is commonly called parole.

       12.    Your affiant has had specialized nexus training in determining the where

firearms are manufactured. Based on Madison Police reports, your affiant knows that

the Hi-Point JHP .45 caliber handgun is a firearm that was manufactured outside the

State of Wisconsin and has therefore h·avelled in interstate commerce.

       13.    Your affiant has reviewed the Wisconsin Circuit Court Access (WCCA)


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program, which provides computerized records of cases in Wisconsin state courts.

Your affiant has used information from WCCA in past cases and knows that the

information contained therein it is accurate and reliable.

       14.    WCCA records show that in Rock County case number 2014CF001743,

Olson was convicted on February 10, 2015, of the felony crime of Operating a Motor

Vehicle While Intoxicated (4th offense within 5 years) contrary to Wisconsin State

Statute section 346.63(1)(a). On that same day he was sentenced to 1 year in jail

consecutive to other cases including 2012CF0002813.

       15.    WCCA records also show that in Rock County case number

2012CF002813, Olson was convicted on February 10, 2015, of the felony crime of

Operating a Motor Vehicle Without Owner's Consent contrary to Wisconsin State

Statute section 943.23(2). On that same date Olson was sentenced to 6 years in prison

consisting of a 3 year term of confinement and 3 year term of extended supervision.



                                                             Ir
                                                 Special Agent Jeffrey Eleveld
                                                 Bureau of Alcohol, Tobacco, Firearms
                                                 and Explosives


                                      rt/
                      nically this 'i__ day of June 2020.


Honorable Stephen L. Crocker
United States Magistrate Judge




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